         Case 1:18-cv-00152-JEB Document 135 Filed 04/10/19 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



RONNIE MAURICE STEWART, et al.,

               Plaintiffs,
                                                      Civil Action No. 1:18-cv-152 (JEB)
   v.


ALEX M. AZAR II, et al.

               Defendants.


                                       NOTICE OF APPEAL

        PLEASE TAKE NOTICE that Defendants, Alex M. Azar II, in his official capacity as

Secretary of Health and Human Services; Seema Verma, in her official capacity as Administrator of

the Centers for Medicare & Medicaid Services; Paul Mango, in his official capacity as Chief Principal

Deputy Administrator of the Centers for Medicare & Medicaid Services; Demetrios L. Kouzoukas, in

his official capacity as Principal Deputy Administrator of the Centers for Medicare & Medicaid

Services; Christopher Traylor, in his official capacity as Director of the Center for Medicaid and

Children’s Health Insurance Program Services; United States Department of Health and Human

Services; and the Centers for Medicare & Medicaid Services, hereby appeal to the United States Court

of Appeals for the District of Columbia Circuit from this Court’s Memorandum Opinion and Order

granting Plaintiffs’ Motion for Summary Judgment, denying Defendants’ Cross-Motions for Summary

Judgment, vacating the Secretary’s approval of Kentucky HEALTH, and remanding to the agency,

both entered on March 27, 2019, ECF Nos. 131, 132, and Order entering judgment on Count VIII of

Plaintiffs’ First Amended Complaint, entered on April 4, 2019, ECF No. 134, as well as all prior orders

and decisions that merge into those.



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         Case 1:18-cv-00152-JEB Document 135 Filed 04/10/19 Page 2 of 2




Dated: April 10, 2019                  Respectfully submitted,

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                                       /s/ Matthew Skurnik
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